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                               EXHIBIT A
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Defame Amarte Otra vez by Mazz an Amazon Music - Amazon.com                                                   9/11/19, 9:02 PM




            Lo Voy A tiacer Por Ti          Iuego Es Tuyo         Mesa Cumbias
            Mazz                          Mazz                    Masi
                          1                                       Stream Or buy for 0.29
            Stream or buy for $129       Stream or buy for $129



   Product details

     Original Release Date: July 20, 1992
     Release Date: August 1, 1992
     Label: Capitol Latin
      Copyright: 0© 1992 Capitol Records Inc.
     Record Company Required Metadata: Music file metadata contains unique purchase identifier. Learn more.
      Duration: 4:12 minutes
     Genres:
        Latin Music
     ASIN: BOOOTDB5G6
     Average Customer Review: Be the first to review this item
     Amazon Best Sellers Rank: #809,728 Paid in Songs (See Top 100 Paid in Songs)
          #27822 in Latin Music (Songs)



   No customer reviews




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                                                     De Oro



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     Discography Browser




                                                            Track Listing

                                                                    Taile/Comporrer                                  Performer                             Time


                                                            1       Este Amor Que Tengo                                                                    03:27
                                                                                                                     Mazz
                                                                    Joe L6pez



                                                            2       Te Oilier° ASI                                  Mazz
                                                                                                                                                           04:27
                                                                    Juan Canoe Ceduler6n                            Ism: Lama Camden



                                                            3       Are You Lonesome Tonight?                       Mazz                                  03:42
                                                                    Lou Hendren / Roy Turk


                                                                    Cuando Caliente el Sol
                                                             4      Carlos Abed° Mattnoll/ canoe Nana / Wu%          Mazz                                  03:59
                                                                    Riguel



                                                                    Pero No                                          Mazz                                  03:20
                                                                    Joe Lopez



                                                            6       Deterver el Tiempo                               Mazz                                  03:20
                                                                    Antal Pastor


                                                             7      Toco Madera                                      M822                                  03:11
               Case 1:19-cv-00200 Document 1-1 Filed on 10/23/19 in TXSD Page 4 of 13
De Oro - Mazz I Songs, Reviews, Credits I AliMusic                                                         9/11119, 9:04 PM



                                                     9    La Ensatacia         Mazz                        05:49


                                                          Cuando Tu Te Vayas
                                                     10                        Mazz                        04:38
                                                          Joe Lopez


                                                          VVhy
                                                     11                        Mazz                        0142
                                                          Lorenzo Lopez


                                                          Dime Que Si
                                                     12                        Man                         03:40
                                                          Luis Silva



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                   Play ''De Oro"
                   on Amazon Music




    Release Date      1993

    Duration          46:44

    Genre             Latin


    Styles            Latin Pop


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Corazon de Joe Lopez - Joe Lopez ISongs, Reviews, Credits I AliMusic                                                                                              9/11/19, 9:05 PM




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                                                                    Joe Lopez
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      Discography Browser




                                                               Track Listing
                                                               Sample            Title/Composer                                     Performer                      Time

                                                                                 Se Oue Quieres Fiegreser                                                         M:56
                                                                           1                                                        Joe Lopez
                                                                                 Joe Lopez



                                                                                 Te Wier° ASII                                                                    04:27
                                                                           2                                                        Joe LOpez
                                                                                 Juen Canoe ColdenSn / Laura Cowles


                                                                                 Dime Que Si                                        Joe LOpez                     03:40
                                                                           3
                                                                                 Lula Sant



                                                                                 Ahora Ouiero Que Me Quieras                                                       03:58
                                                                           4                                                        Joe LOpez
                                                                                 his Sin


                                                                           5     ratlike                                            Joe LOpez                      03:11
                                                                                 Lorenzo Lopez



                                                                                 Cuando Tu Te Vayas
                                                                           a     Joe Lopez
                                                                                                                                    Joe Lopez                     04:38



                                                                           7     Este Amor Qua Tengo                                                              03:27
                                                                                                                                    Joe Lopez
                                                                                 Joe Lopez
                Case 1:19-cv-00200 Document 1-1 Filed on 10/23/19 in TXSD Page 6 of 13
Corazon de Joe Lopez - Joe Lopez I Songs, Reviews, Credits I AllMusic                                                                 9111/19. 9:05 PM


                                                                        9    Why                     JOe Lopez                        03:42
                                                                             LOrenzo Lopez



                                                                        10   Mt Vida Sin Ti          Joe Lopez                        03:09



                                                                        11   Oeiarne Solo
                                                                                                     Joe Lopez                        03:27
                                                                             Joe Lopez


                                                                        12   Quo Triste Es Mi Vida
                                                                                                     Joe Lopez                        02:48
                                                                             Joe Lopez



                                                                                                                 blue highlight denotes track pick




    op Play "Corazon de Joe Lopez"
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     Releaee Date     January 12, 1999

     Oureffon         42:50

     Genre            Latin

    Styles            Mexican Traditions
                      Tejano

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               Case 1:19-cv-00200 Document 1-1 Filed on 10/23/19 in TXSD Page 7 of 13
Joe Lopez Y Grupo Mazz 80's I Favoite Music Group or Singer I Selena g ulntaniila perez, Song artists, Selena guintanilla                                       9/11/19, 9:N PM




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                                                  Joe Lopez 1( Grupo Mazz 80's                                                                   Olt

                                                    Song Artists Selena Pointenilla Pena Tee Mot Si

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                                                            Diana Salinas-Sandoval                                More informat     More inFormat       More infamies




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                                        Imposibilidad - David...
                                         David Lee Band Photos alinano

                                        David Marez - Imposibilidad               Arnazorixorn: En El Amor.—                Elinborg Telma Song Mimi& Sel
                                             Frances Ramos
                                                                                   Latin Artists Mask Nis Mask C           Born in Edinburg, TX, Roberto
                                             Music Is Life
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emilio navaira                                                                    See more '
     Priscala Flores-vbarra
     Musicians- Gone too soon




                                        Latin Breed Mega Mix Ftja...
                                         Spaniels Miele Donal UM   Siang

                                        During TeJanos first golden age, in
                                        the 1970s. big-horn-section bands...      Mazz - Joe Lopez - La Vo...
                                             Velvet Ramirez
                                             musk                                  Jitnioy comae: Song Arltsts   r•
                                                                                                                            Tar Mee Chicano lOodo 01 Masi.
                                        See more                                  OMG 1 Keep messin up on the
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                                                               Joe Lopez
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    Discography Browser




                                                         Track Listing

                                                         Sample           TItia/Composer                                 Performer             Time          Stream


                                                                                                                        Joe Lopez
                                                                      1   Perdona Carina                                feat: La Nueva         04:15
                                                                                                                        Ernagen Man



                                                                          Soy re                                        Joe Lopez
                                                                      2                                                 feat: La Nueva         03:59
                                                                          Armand:, Maraenero                            Imagen Men


                                                                                                                        Joe Lopez
                                                                      3   Mate hillier                                  feet Latham            0314
                                                                                                                        Imager: Man


                                                                                                                         Jae Lopez
                                                                      4   Atrapido
                                                                                                                         fest: Ls Nueva        04:04
                                                                          Brands Males /Janie Flocktuaz                  Innen maw
               Play   "Mazz Fuerte Que
                                                                                                                        Joe Lopez
   11°.                                                                       ttgEt CV=
                                                                      5                                                 test La Nueva          04:15
                      on Amazon Music                                     Brenda Mentes / James Rodrigun                Emmen Mau


                                                                                                                         Joe Lopez
                                                                      6   infiel                                        -feet La Nueva         03:36
    Release Date        March 27, 2001                                                                                  !maw Mezz

    Duration            39:08
                                                                                                                        Joe Lopez
                         Latin                                        7   Dices Que re Vas                              feat: La Nous
    Genre
                                                                                                                        imagen Men

    Styles              Mexican Traditions
                        Mien°                                                                                            Joe Lopez
                                                                      8   °Rog Azules                                   feat:La Nueva          03:35
                                                                                                                         Emmen Mac;


https://wrimailmusic.comfalbum/mazz-fuerte-que-nunca-mw0000586845                                                                                                     Page 1 of 2
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             Man
             Biography by Drago BOnacich




 innovative Telano comp that formed iA Brownovilie, Texas in 1979.

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                                                                                                                        Active           1970s - 1990s

                                                                                                                        Fennel           1978 In Brownsville, TX

                                                                                                                         Genre           Latin

                                           Man!
          Live!! Una Nos ns Ju otos        Mars rtittrelienti,-at. QUO No....   Soso Para ri                             Styles          Latin Pop
                                                                                                                                         Mexican Traditions
                                                                                                                                        Tejeno
                                                                                                                                        Tropical


                                                                                                                        Also Known As   Grupo Mazz

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                                                           Track Listing — Disc 1

                                                           Sample         Title/Composer                                  Performer                       Time


                                                                    1     Ven Deverame Otra Vez                           Mazz                            CO:59
                                                                          Pane Hernandez


                                                                    2     Vamos a Olvitlarnos                             Mazz                            03:43
                                                                          Joe LOpez


                                                                          Soy Como Soy                                    Mazz                            04:07
                                                                    3
                                                                          Joe Lana


                                                                          Pero No                                         Mazz                            03:30
                                                                          Joe Ldpez


                                                                    5     4Por Due Dios MID?                              Mazz                            04:10



                                                                    6 Amor con Amor                                       Mazz                            05:47
                                                                                                      t

                                                                    7     Mazz Polkitas                                   Mazz                            04:21
L                 Case 1:19-cv-00200 Document 1-1 Filed on 10/23/19 in TXSD Page 11 of 13
    Liven Una Noche juntas - Mazz iSongs, Reviews, Credits I AliMusic                                                                                            9/11119, 9:23 PM


                                                                           9    Angel Madno MIS Valenzoels                       Mzz                             06:08




                                                                  Track Listing - Disc 2

                                                                  Sample        Title/Composer                                   Performer                       Time


                                                                                Canciones der Corazon
                                                                           1    Jose Alfredo Jimenez / Fernando Z. Maldonado /   Mazz                            06:57
                                                                                Fadarloo Mender / Gilberto Parra


                                                                                Gabino Barrera                                   Mazz                            04:15
                                                                           2
                                                                                Victor Rafael Cordaro


                                                                                Due Genoa                                                                        03:44
                                                                           3                                                     Ma=
                                                                                Joe L6pez


                                                                           4    Mazz Cumbias                                     Mazz                            09:20


                                                                           5 Laura                                               Ma=                              03:00
                                                                               Humberto Ramon


                                                                           6 Reprise                                             Mazz                             04:52


                                                                                Mazy Jam Show Closer                             Man                             02:41
                                                                           7
                                                                                Mazz


                                                                                One Me Lieven Gancionos                          Mazz                             03:55
                                                                           8
                                                                                Humberto Ramon



                                                                                                                                             blue highlight donates back pick


        ►     Play "Live!! Una Noche Ju..:
                        on Amazon Music




         Release Date     /992

         Duration         01:1727

         Genre            Latin

         Styles           Latin Pop

         Recording Date June 23,1991

         Recording        Rosedale Park, San Antonio,
         Location         TX

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                                                             Track Listing
                                                                   Title/Composer                                   Performer                              Time

                                                              Decidelo
                                                             1Mazz
                                                                   Lola Silva



                                                             2     Porque Te ()micro                               Ma=



                                                             3      For flue Dios                                  Mazz


                                                                   Lo Qua la Vida Te Da
                                                             4                                                      Mazz
                                                                   Jae Lopez
             Case 1:19-cv-00200 Document 1-1 Filed on 10/23/19 in TXSD Page 13 of 13
Mazz Number 16 - Mazz I Songs, Reviews, Credits AilMusic                                                          9/11/19, 9:18 PM




                                                                Y Te i.o Di
                                                           7                          Mazz
                                                                Joe thpez


                                                                My Pretty Ballerina
                                                           8                          Mazz
                                                                Rely Aguiffe


                                                           9 PerdOname
                                                                                      Mazz
                                                               Juan Gabriel


                                                           JO Si Pudiera
                                                                                      Mazz
                                                               Luis Silva



                                                                                             blue highlight denote* track pick




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                   on Amazon Music
                                            4)


    Release Date     1991

    Genre             atm

    Styles           Latin Pop

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